Case 9:20-md-02924-RLR Document 2037 Entered on FLSD Docket 10/08/2020 Page 1 of 32




                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA

    IN RE: ZANTAC (RANITIDINE)                                 MDL NO. 2924
    PRODUCTS LIABILITY                                         20-MD-2924
    LITIGATION

                                                 JUDGE ROBIN L. ROSENBERG
                                        MAGISTRATE JUDGE BRUCE E. REINHART

                                    /

    THIS DOCUMENT RELATES TO ALL CASES


    ______________________________________________________________________________
                THE GENERIC MANUFACTURERS’ AND REPACKAGERS’
            RULE 12 MOTION TO DISMISS CONSOLIDATED CONSUMER AND
             THIRD-PARTY PAYOR CLASS ACTION COMPLAINTS ON THE
                    GROUND OF FAILURE TO ALLEGE AN INJURY
                    AND INCORPORATED MEMORANDUM OF LAW
    ______________________________________________________________________________
Case 9:20-md-02924-RLR Document 2037 Entered on FLSD Docket 10/08/2020 Page 2 of 32




                                                             TABLE OF CONTENTS

    I.              INTRODUCTION ...............................................................................................................1
    II.             FACTS ALLEGED IN THE COMPLAINTS .....................................................................2
    III.            ARGUMENT .......................................................................................................................4
          A.           BECAUSE THE CLASS ACTION COMPLAINTS FAIL TO ALLEGE ANY COGNIZABLE
                       INJURY, THEY MUST BE DISMISSED ENTIRELY. ...................................................................4

               1.          Class Action Plaintiffs allege no legally cognizable injury in the Class Action
                           Complaints because they never allege that ranitidine they purchased or used was
                           ineffective. ...................................................................................................................6
               2.          Allegations of “cellular damage” do not qualify as personal injuries........................11
               3.          Even if Plaintiffs could allege a personal injury, they must confine all such
                           claims to the Personal Injury Complaint. ...................................................................13
          B.           THE ECONOMIC-LOSS RULE BARS THIRD-PARTY PAYORS’ TORT RECOVERY OF
                       PURELY ECONOMIC LOSS IN A COMMERCIAL TRANSACTION. ...........................................13

          C.           CONSUMER CLASS’ CLAIMED MEDICAL-MONITORING “INJUNCTION” SHOULD BE
                       DISMISSED AND AN INJUNCTION OF NON-EXISTENT SALES IS IMPROPER. .........................15

    IV.             CONCLUSION ..................................................................................................................18




                                                                                ii
Case 9:20-md-02924-RLR Document 2037 Entered on FLSD Docket 10/08/2020 Page 3 of 32




                                                    TABLE OF AUTHORITIES

                                                                                                                                     Page(s)

    Cases

    In re Actimmune Mktg. Litig.,
        No. C 08-02376 MHP, 2010 WL 3463491 (N.D. Cal. Sept. 1, 2010), aff’d, 464 F.
        App’x 651 (9th Cir. 2011) .........................................................................................................5

    In re Air Bag Prod. Liab. Litig.,
        7 F. Supp. 2d 792 (E.D. La. 1998) .............................................................................................4

    Am. Fed’n of State Cty. & Mun. Employees, Dist. Council 47 Health & Welfare Fund
       v. Ortho-McNeil-Janssen Pharm., Inc.,
       857 F. Supp. 2d 510 (E.D. Pa. 2012) .........................................................................................5

    Arch v. Am. Tobacco Co.,
       175 F.R.D. 469 (E.D. Pa. 1997) ...............................................................................................17

    Barraza v. C. R. Bard Inc.,
       322 F.R.D. 369 (D. Ariz. 2017) ...............................................................................................17

    In Re Berg Litig.,
        293 F.3d. 1127 (9th Cir. 2002) ................................................................................................12

    Birmingham v. Walgreen Co.,
       No. 12-60922-CIV, 2014 WL 12479929 (S.D. Fla. Jan. 3, 2014).............................................8

    In re Bridgestone/Firestone, Inc.,
        288 F.3d 1012 (7th Cir. 2002) ...................................................................................................4

    Caputo v. Bos. Edison Co.,
       No. CIV. A. 88-2126-Z, 1990 WL 98694 (D. Mass. July 9, 1990), aff’d, 924 F.2d
       11 (1st Cir. 1991) .....................................................................................................................12

    Coghlan v. Wellcraft Marine Corp.,
       240 F.3d 449 (5th Cir. 2001) .....................................................................................................4

    Colville v. Pharmacia & Upjohn Co. LLC,
       565 F. Supp. 2d 1314 (N.D. Fla. 2008)......................................................................................4

    Day v. NLO, Inc.,
       144 F.R.D. 330 (S.D. Ohio 1992), vacated in part on other grounds, In re NLO.
       Inc., 5 F.3d 154 (6th Cir. 1993) .........................................................................................16, 17

    Debernardis v. IQ Formulations, LLC
       942 F.3d 1076, 1086 (11th Cir. 2019) ......................................................................................5

                                                                        iii
Case 9:20-md-02924-RLR Document 2037 Entered on FLSD Docket 10/08/2020 Page 4 of 32




    Donovan v. Philip Morris USA, Inc.,
       268 F.R.D. 1 (D. Mass. 2010) ..................................................................................................16

    Dumontier v. Schlumberger Tech. Corp.,
      543 F.3d 567 (9th Cir. 2008) ...................................................................................................12

    Eagle-Picher Indus., Inc. v. Cox,
       481 So. 2d 517 (Fla. 3d DCA 1985) ..........................................................................................4

    East River Steamship Corp. v. Transamerica Delaval,
       476 U.S. 858 (1986) ...........................................................................................................14, 15

    Heindel v. Pfizer, Inc.,
       381 F. Supp. 2d 364 (D.N.J. 2004) ............................................................................................4

    Hughes v. Chattem, Inc.,
       818 F. Supp. 2d 1112 (S.D. Ind. 2011) ......................................................................................5

    Ironworkers Local Union 68 v. AstraZeneca Pharms. LP,
        634 F.3d 1352 (11th Cir. 2011) ...........................................................................................7, 10

    Jackson v. Purdue Pharma Co.,
       No. 6:02-cv-1428-Orl-19KRS, 2003 U.S. Dist. LEXIS 6998 (M.D. Fla. Apr. 10,
       2003) ........................................................................................................................................17

    In re Johnson & Johnson Talcum Powder Prod. Mktg., Sales Practices & Liab. Litig.,
        903 F.3d 278 (3d Cir. 2018).......................................................................................................8

    Koronthaly v. L’Oreal USA, Inc.,
       374 F. App’x 257 (3d Cir. 2010) ...............................................................................................5

    Loreto v. Procter & Gamble Co.,
       737 F. Supp. 2d 909 (S.D. Ohio 2010) ......................................................................................7

    Medley v. Johnson & Johnson Consumer Cos.,
      No. 2:10-cv-2291, 2011 WL 159674 (D.N.J. Jan. 18, 2011).....................................................5

    O’Connor v. Boeing N. Am., Inc.,
       180 F.R.D. 359 (C.D. Cal. 1997) .............................................................................................18

    Papasan v. Dometic Corp.,
       No. 16-22482-CIV, 2019 WL 3317750 (S.D. Fla. July 24, 2019) ..........................................10

    Pennsylvania Employees Ben. Tr. Fund v. Astrazeneca Pharm. LP,
       No. 609-CV5003-ORL-22DAB, 2009 WL 2231686 (M.D. Fla. July 20, 2009)...............10, 11

    Porter v. Merck & Co.,
       No. 04-CV-586, 2005 WL 3719630 (Kan. Dist. Ct. Aug. 19, 2005).........................................4

                                                                            iv
Case 9:20-md-02924-RLR Document 2037 Entered on FLSD Docket 10/08/2020 Page 5 of 32




    Ranier v. Union Carbide Corp.,
       402 F.3d. 608 (6th Cir. 2005) ..................................................................................................12

    In re Rezulin Prods. Liab. Litig.,
        210 F.R.D. 61 (S.D.N.Y. 2002) .................................................................................................7

    Rivera v. Wyeth-Ayerst Labs.,
       283 F.3d 315 (5th Cir. 2002) .......................................................................................5, 7, 9, 10

    In re Schering Plough,
        678 F3d 235 (3rd Cir. 2012) ......................................................................................................5

    In re Schering-Plough Corp. Intron/Temodar Consumer Class Action,
        2009 WL 2043604 (D.N.J. July 10, 2009).................................................................................7

    Sharyland Water Supply Corp. v. City of Alton,
       354 S.W.3d 407 (Tex. 2011)....................................................................................................15

    Thomas v FAG Bearings Corp Inc,
       846 F Supp 1400 (W.D. Mo. 1994) .........................................................................................18

    In re Vioxx Prods. Liab. Litig.,
        874 F. Supp. 2d 599 (E.D. La. 2012) .........................................................................................7

    Wal-Mart Stores, Inc. v. Dukes,
       564 U.S. 338 (2011) .................................................................................................................17

    Walus v. Pfizer, Inc.,
       812 F. Supp. 41 (D.N.J. 1993) ...................................................................................................4

    Whitmore v. Arkansas,
       495 U.S. 149 (1990) ...................................................................................................................4

    Williams v. Purdue Pharm. Co.,
       297 F. Supp. 2d 171 (D.D.C. 2003) ...........................................................................................7

    Zinser v. Accufix Research Inst., Inc.,
       253 F.3d 1180 (9th Cir. 2001) ...........................................................................................16, 18

    Other Authorities

    J.M. Zitter, Annotation, Strict products liability: recovery for damage to product
       alone, 72 A.L.R. 4th 12 (originally published in 1989). ..........................................................15




                                                                        v
Case 9:20-md-02924-RLR Document 2037 Entered on FLSD Docket 10/08/2020 Page 6 of 32




           Pursuant to this Court’s Pretrial Orders #30, 31, and 36, the Generic Manufacturer

    Defendants (“Generic Manufacturers”) and the Repackager Defendants (“Repackagers”) (as

    named in the Complaints), submit this Rule 12 motion to dismiss the Consolidated Consumer and

    Third-Party Payor Class Action Complaints for failure to allege a cognizable injury and

    memorandum of law in support.

      I.   INTRODUCTION

           The “Consolidated Consumer Class Action Complaint” (Dkt. No. 889, the “Consumer

    Complaint”) and the “Consolidated Third Party Payor Class Complaint” (Dkt. No. 888, the “TPP

    Complaint”) (together, “Class Action Complaints”) fail to allege a true injury-in-fact. To have a

    viable claim, a plaintiff must allege an injury that is distinct and palpable, as opposed to merely

    abstract, and the alleged harm must be actual or imminent, not conjectural or hypothetical. Yet,

    in both Class Complaints, Plaintiffs neither allege actual physical injury nor claim that the

    ranitidine-containing medications they allegedly purchased were ineffective. Indeed, the Class

    Complaints affirm the medication’s efficacy. Because the ranitidine purchased or used by the

    Class Plaintiffs did exactly what it was supposed to do without physically injuring any Class

    Plaintiffs, Plaintiffs received the benefit of their bargain. They have alleged no injury-in-fact that

    meets the threshold for Article III standing, and their claims should be dismissed.

           Plaintiffs try to slip this rule by asserting, without basis, that the medications were

    “worthless” due to the alleged presence of an impurity. The law does not support this expansive

    theory of liability. Federal appellate courts have repeatedly recognized that, absent any allegation

    of physical injury or inefficacy, Plaintiffs cannot assert that a lawfully purchased product was

    “worthless” due to the alleged presence of an impurity.

           Beyond failing to allege a cognizable injury capable of satisfying Article III standing, the

    tort-based claims in the TPP Complaint must also be dismissed pursuant to the economic loss

                                                      1
Case 9:20-md-02924-RLR Document 2037 Entered on FLSD Docket 10/08/2020 Page 7 of 32




    doctrine. The TPP Plaintiffs seek to recover under negligence theories for purely economic loss

    relating to the product itself without alleging any personal injury or damage to “other property.”

    The economic loss doctrine forecloses these claims.

           Finally, the Court should dismiss the Consumer Class claims for injunctive relief because

    the medical monitoring requested here is not an injunctive remedy. Plaintiffs simply ask the Court

    to create “a trust fund to pay for the medical monitoring and diagnosis of Plaintiffs as frequently

    and appropriately as necessary.” Plaintiffs simply want the Court to create a fund to pay for any

    and all medical appointments loosely related to this litigation, a request that is simply monetary

    and lacks any principles of equity that a judicial injunction would rest upon. Courts repeatedly

    refuse to cast such monetary requests as “injunctive” relief.

           Because Class Plaintiffs assert no bodily harm and do not claim that the ranitidine that they

    purchased was ineffective, they have alleged no injury at all. Moreover, because the TPP Plaintiffs

    are seeking purely economic losses, their tort-based claims must be dismissed under the economic

    loss doctrine. Finally, the Consumer Plaintiffs’ injunctive claims for medical monitoring, which

    also seek only monetary damages, similarly fail. In short, Plaintiffs fail to assert any cognizable

    claim in the Class Complaints, and they must be dismissed.

     II.   FACTS ALLEGED IN THE COMPLAINTS

           In this MDL, the Plaintiffs utilized consolidated and master pleadings as procedural devices

    to coordinate, categorize, and evaluate claims. The pleadings identified three categories of

    plaintiffs, each with claims that would be best addressed through separate pleadings:

    (1) individuals who allegedly suffered personal injury in the form of cancer from exposure to N-

    Nitrosodimethylamine (“NDMA”); (2) consumers who paid for a product that was “worthless”




                                                     2
Case 9:20-md-02924-RLR Document 2037 Entered on FLSD Docket 10/08/2020 Page 8 of 32




    because of the alleged presence of NDMA, and (3) third-party payors who reimbursed for the

    “worthless” product.1

             Plaintiffs assert economic loss in the Consumer Complaint, brought on behalf of the

    individuals who used prescription or OTC ranitidine without incident, and the TPP Complaint,

    brought on behalf of the TPP Plaintiffs who reimbursed their individual members for ranitidine

    prescriptions. In the Master Personal Injury Complaint (Dkt. 887, the “PI Complaint”), Plaintiffs

    seek damages for personal injury. See, e.g., PTO #36.

             The Consumer and TPP Plaintiffs assert no viable injury. Instead of personal injury or

    product efficacy claims, they attempt to assert mere “economic losses” as their injury. The Class

    Action Complaints allege that Defendants’ actions and omissions made Plaintiffs overpay for a

    “worthless” product. See, e.g., Consumer Compl. ¶¶ 722, 743, 789, 1705(e); TPP Compl. ¶¶ 495,

    617. They further allege that they never would have purchased or reimbursed for any ranitidine

    product if they had been aware of the potential presence of NDMA and the alleged risk associated

    with the use of ranitidine-containing products. See, e.g., Consumer Compl. ¶¶ 13, 721, 1711; TPP

    Compl. ¶¶ 603, 617, 630.

             The Consumer and TPP Plaintiffs seek to hold Defendants liable for failing to fix or

    disclose an alleged design defect and its attendant health risks, but the Plaintiffs in the Class Action

    Complaints do not allege any cognizable physical injury or bodily harm. Despite characterizing

    Defendants’ ranitidine-containing products as worthless, Plaintiffs do not allege that the

    medication was ineffective—i.e., that it failed to relieve their heartburn, duodenal or gastric ulcer,

    GERD, erosive esophagitis, or pathological hypersecretory condition.




    1
        See, e.g., PTO #31.

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Case 9:20-md-02924-RLR Document 2037 Entered on FLSD Docket 10/08/2020 Page 9 of 32




    III.   ARGUMENT

           A.      BECAUSE THE CLASS ACTION COMPLAINTS FAIL TO ALLEGE ANY COGNIZABLE
                   INJURY, THEY MUST BE DISMISSED ENTIRELY.

           Plaintiffs, in the two Class Action Complaints, attempt to establish an improper “no-injury”

    product liability class action against Defendants. “The striking feature of a typical no-injury class

    is that the plaintiffs have either not yet experienced a malfunction because of the alleged defect or

    have experienced a malfunction but not been harmed by it.” Coghlan v. Wellcraft Marine Corp.,

    240 F.3d 449, 455 n.4 (5th Cir. 2001). Such plaintiffs “have not suffered any physical harm or

    out-of-pocket economic loss.” Id. But an injury is a necessary element of every cause of action,

    and courts generally forbid recovery without harm. Whitmore v. Arkansas, 495 U.S. 149, 155

    (1990) (the “alleged harm must be actual or imminent, not conjectural or hypothetical.”)

    Unsurprisingly, then, courts routinely dismiss these types of no-injury cases based either on a

    failure to state a claim under Rule 12(b)(6)2 or a lack of Article III standing and under Rule




    2
      See, e.g., In re Bridgestone/Firestone, Inc., 288 F.3d 1012, 1017 (7th Cir. 2002) (holding that a
    party alleging a product defect claim cannot avoid the requirement of actual injury by “seek[ing]
    to move the suit out of the tort domain and into that of contract . . . and consumer fraud”); Heindel
    v. Pfizer, Inc., 381 F. Supp. 2d 364, 366 (D.N.J. 2004) (dismissing an action for “economic
    damages” purportedly caused by the inadequate warning on defendants’ drugs for failure to state
    a claim because “the plaintiffs suffered no injury, [and] there is no theory under which they are
    entitled to recover”); In re Air Bag Prod. Liab. Litig., 7 F. Supp. 2d 792, 803-04 (E.D. La. 1998)
    (dismissing no-injury tort and warranty claims where the plaintiffs alleged merely that the air bags
    in their vehicles might fail in the future); Walus v. Pfizer, Inc., 812 F. Supp. 41, 44 (D.N.J. 1993)
    (dismissing a no-injury lawsuit after finding that the plaintiff could not assert a “cause of action
    based on a claim that a normally functioning [implanted heart valve] might fail at some unknown
    time”); Porter v. Merck & Co., No. 04-CV-586, 2005 WL 3719630, at *3 (Kan. Dist. Ct. Aug. 19,
    2005) (dismissing the plaintiff’s claim under a consumer protection statute, seeking a refund for
    the pain medication Vioxx, because the plaintiff “suffered no physical injury and received a drug
    that provided relief for her pain[,] [and] [t]hus, she has no loss”); see also Colville v. Pharmacia
    & Upjohn Co. LLC, 565 F. Supp. 2d 1314, 1323 (N.D. Fla. 2008) (dismissing product liability
    claims because osteopenia was not an “injury,” but rather was a “slow process in the bone that
    could lead to an injury”); Eagle-Picher Indus., Inc. v. Cox, 481 So. 2d 517, 521, 526 (Fla. 3d DCA
    1985) (holding that “damages are not recoverable for the future risk of cancer” because
                                                     4
Case 9:20-md-02924-RLR Document 2037 Entered on FLSD Docket 10/08/2020 Page 10 of 32




    12(b)(1).3 Accordingly, in this MDL, the Class Action Complaints must be dismissed because

    Plaintiffs cannot allege a personal injury and failed to allege an otherwise legally

    cognizable injury.




    “sanctioning a damage award in the single action for the risk of cancer encourages the use of
    speculative testimony and leads, necessarily, to inequitable results” (emphasis in original)).
    3
      The Third and Fifth Circuits, for example, consistently hold that a plaintiff who uses a product
    fully, safely, and effectively, and thus receives “the benefit of her bargain,” lacks Article III
    standing to sue for a full refund based on nondisclosure of a defect that affected only others. Rivera
    v. Wyeth-Ayerst Labs., 283 F.3d 315, 320 (5th Cir. 2002) (“Notably, the wrongs Rivera and the
    class allege are those suffered by other, non-class member patients.”); see In re Schering Plough,
    678 F3d 235, 248 (3rd Cir. 2012) (holding that “pure conjecture” was required to conclude that
    the defendants’ conduct ultimately caused the plaintiff injury, and therefore no standing existed);
    Am. Fed’n of State Cty. & Mun. Employees, Dist. Council 47 Health & Welfare Fund v. Ortho-
    McNeil-Janssen Pharm., Inc., 857 F. Supp. 2d 510, 516 (E.D. Pa. 2012) (“Plaintiffs cannot recover
    if they paid for an effective pain killer, and [their members] received just that—the benefit of
    [their] bargain.’” (citing Rivera, 283 F.3d at 320)); Medley v. Johnson & Johnson Consumer Cos.,
    No. 2:10-cv-2291, 2011 WL 159674, at *2 (D.N.J. Jan. 18, 2011) (holding plaintiffs lacked an
    injury-in-fact from their purchase of baby shampoo containing a toxic ingredient because “the
    product worked as intended, meaning that the hair of Plaintiff’s children was cleansed, and their
    eyes and skin were not irritated”); Koronthaly v. L’Oreal USA, Inc., 374 F. App’x 257, 259 (3d
    Cir. 2010)(allegation that product failed to work as intended is necessary). Courts in other
    jurisdictions apply the same logic to dismiss no-injury actions for lack of standing. See, e.g.,
    Hughes v. Chattem, Inc., 818 F. Supp. 2d 1112, 1119 (S.D. Ind. 2011) (finding Plaintiffs had not
    established standing for purchase of supplements based on claims “that they may experience future
    harm from their limited exposure to hexavalent chromium [and] they now wish they had not
    purchased” the product and also dismissing as a matter of law, apart from standing, claims under
    Indiana’s consumer protection act, and for breach of warranty and unjust enrichment); In re
    Actimmune Mktg. Litig., No. C 08-02376 MHP, 2010 WL 3463491, at *9 n.2 (N.D. Cal. Sept. 1,
    2010), aff’d, 464 F. App'x 651 (9th Cir. 2011) (“A consumer protection suit will not lie where a
    plaintiff actually receives the ‘benefit of the bargain.’”). In Debernardis v. IQ Formulations, LLC,
    the Eleventh Circuit held that the plaintiffs had standing because they alleged to have experienced
    an economic loss when they purchased dietary supplements that the FDCA had already banned
    from sale because it was presumptively unsafe. 942 F.3d 1076, 1086 (11th Cir. 2019). This case
    is distinguishable to the case at hand not only because the court expressly refrained from opining
    on “a product that was lawfully sold at the time of purchase but whose sale later was prohibited”
    but also because it involved a different regulatory framework.

                                                      5
Case 9:20-md-02924-RLR Document 2037 Entered on FLSD Docket 10/08/2020 Page 11 of 32




       1. Class Action Plaintiffs allege no legally cognizable injury in the Class Action
          Complaints because they never allege that ranitidine they purchased or used was
          ineffective.

           The Consumer Plaintiffs do not allege that ranitidine failed to relieve their heartburn,

    indigestion, duodenal or gastric ulcers, GERD, erosive esophagitis, or other pathological

    hypersecretory conditions, and the TPP Plaintiffs do not even suggest, let alone allege, that any of

    their members encountered ineffective Ranitidine-Containing Products. Ranitidine’s efficacy is

    shown by the many named Plaintiffs who used the product for decades to relieve symptoms. See,

    e.g., Consumer Compl. ¶ 63 (“Plaintiff Kristen Monger . . . used Ranitidine-containing Products .

    . . from approximately 1997 to 2020 to treat acid reflux . . . .”), id. ¶ 73 (“Plaintiff Ricardo Moron

    . . . used Ranitidine-containing Products . . . from approximately 1995 to 2020 to treat heartburn

    and acid reflux . . . .”), id. ¶ 81 (“Plaintiff Kathy Jeffries . . . used Ranitidine-containing Products

    . . . from approximately 1998 to 2020 to treat heartburn, stomach acid and esophagus acid . . . .”).

    Despite having not suffered a personal injury and having failed to allege that the ranitidine that

    they purchased was ineffective, the Class Action Complaints still attempt to claim damages.

           Plaintiffs provide two bases for their claims of economic injury. First, Plaintiffs contend

    that Defendants’ misconduct and omissions rendered the ranitidine they purchased “economically

    worthless.”   TPP Compl. ¶ 1 (“As a direct and proximate result of Defendants’ unlawful

    conduct . . . , Plaintiffs and the Class . . . , suffered economic losses for the reimbursement and/or

    purchase of economically worthless Ranitidine-Containing Products.”); see also Consumer

    Compl. ¶ 1705(e) (alleging that Defendants’ conduct “resulted in a gross disparity between the

    true value of the Ranitidine-Containing Products and the price paid” by Plaintiffs). Second,

    Plaintiffs claim that, “[h]ad Defendants disclosed the true facts regarding the purported safety of

    Ranitidine-Containing Products, Plaintiffs and the Class members would not have purchased nor

    ingested Defendants’ Ranitidine-Containing Products.” Consumer Compl. ¶ 721; see also id.
                                                       6
Case 9:20-md-02924-RLR Document 2037 Entered on FLSD Docket 10/08/2020 Page 12 of 32




    ¶ 837 (“As a result of Defendants’ fraudulent conduct, Plaintiffs and members of the Class have

    been injured because they purchased a drug they otherwise would not have purchased and, thus,

    did not receive the benefit of the bargain and suffered out-of-pocket loss.”).

           The alleged economic injury claims presume that a purchaser who consumed the

    medication, received symptom relief, and suffered no apparent adverse effects attributable to the

    alleged defect is, nonetheless, entitled to damages.4 But courts do not allow this.         Courts

    consistently reject class actions against pharmaceutical manufacturers drawing on creative theories

    of economic loss when the drug at issue was effective for its approved indication and benefitted

    the class members.5 The fact that ranitidine allegedly physically injured others (i.e., the PI

    Plaintiffs) is not relevant to Consumer and TPP Plaintiffs’ claims. See In re Johnson & Johnson



    4
      The Consumer Class allegations stretch the theory further, by including as plaintiffs all
    individuals in the United States who purchased the product for family or household use, regardless
    of whether the purchasers ever used the medication. Consumer Compl. ¶ 734.
    5
      See, e.g., Ironworkers Local Union 68 v. AstraZeneca Pharms. LP, 634 F.3d 1352, 1363 (11th
    Cir. 2011) (dismissing economic injury claims where the drug was not “ineffective or unsafe for
    the prescribed use”); Rivera v. Wyeth-Ayerst Labs., 283 F.3d 315, 319 (5th Cir. 2002) (holding
    plaintiffs lacked standing to seek reimbursement of value of drug found to have a risk of causing
    liver damage where only other patients may have experienced such harm and the class did not
    allege the drug caused them physical or emotional harm or that the drug was ineffective); In re
    Vioxx Prods. Liab. Litig., 874 F. Supp. 2d 599, 601 (E.D. La. 2012) (“There is no obvious,
    quantifiable pecuniary loss that Plaintiff incurred from purchasing a drug that worked for him and
    did not cause him any harm.”); Loreto v. Procter & Gamble Co., 737 F. Supp. 2d 909, 922-23
    (S.D. Ohio 2010) (dismissing economic injury claim where plaintiffs did not allege that medicine
    was ineffective based on “their own personal experience with the product” (internal quotation
    marks and citations omitted)); In re Schering-Plough Corp. Intron/Temodar Consumer Class
    Action, 2009 WL 2043604, at *15, *16 (D.N.J. July 10, 2009) (dismissing claims where plaintiffs
    “receive[d] the benefit of their bargain” and failed to allege that “any named plaintiff purchased
    one or more of the Subject Drugs that was prescribed and used for a condition for which it was
    ineffective”); Williams v. Purdue Pharm. Co., 297 F. Supp. 2d 171, 176-77 (D.D.C. 2003) (finding
    no injury in fact where class members suffered no ill effects or lack of efficacy from pain
    medication that was allegedly deceptively marketed); In re Rezulin Prods. Liab. Litig., 210 F.R.D.
    61, 68-69 (S.D.N.Y. 2002) (denying class certification where it was undisputed that the drug was
    “enormously beneficial to many patients” who “presumably got their money’s worth and suffered
    no economic injury”).

                                                     7
Case 9:20-md-02924-RLR Document 2037 Entered on FLSD Docket 10/08/2020 Page 13 of 32




    Talcum Powder Prod. Mktg., Sales Practices & Liab. Litig., 903 F.3d 278, 289 (3d Cir. 2018)

    (“Although Estrada contends that Baby Powder is ‘unsafe,’ her own allegations require us to

    conclude that the powder she received was, in fact, safe as to her.”); see also Birmingham v.

    Walgreen Co., No. 12-60922-CIV, 2014 WL 12479929, at *4 (S.D. Fla. Jan. 3, 2014) (“Here,

    Plaintiff’s claims of economic injury in fact are legally insufficient because Plaintiff already

    consumed the product, did not suffer ‘distinct and palpable’ adverse health consequences, and

    otherwise suffered no injuries from [the product].” (internal citations omitted)). Under this case

    law, Plaintiffs fail to assert a legally cognizable injury.

            Likewise, in James v. Johnson & Johnson Consumer Co., Inc., the New Jersey federal

    court rejected the plaintiffs’ argument that they were economically harmed merely because they

    bought and used baby shampoo that was allegedly tainted with methyl chloride and thereafter

    “feared for the future safety of their children.” No. 2:10-cv-03049, 2011 WL 198026, at *2 (D.N.J.

    Jan. 20, 2011). While the court acknowledged that the plaintiffs probably would not have

    purchased or used the baby shampoo if they had known about the alleged toxicity, “the conclusion

    that ‘consequently, [p]laintiffs have been economically damaged’ simply does not follow.” Id.

    (citation omitted). The court explained:

            Once the product had been consumed, however, there was no economic injury for
            Plaintiffs to complain of, and the fear of future injury is legally insufficient to confer
            standing. Plaintiffs received the benefit of their bargain so long as there were no
            adverse health consequences, and the product worked as intended, meaning that the
            hair of Plaintiff's children was cleansed, and their eyes and skin were not irritated.

    Id. This case is no different; the Class Action Complaints fail to allege non-conclusory facts to

    support a plausible claim against the Generic and Repackager Defendants.




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Case 9:20-md-02924-RLR Document 2037 Entered on FLSD Docket 10/08/2020 Page 14 of 32




           A leading case on claims for economic injuries against pharmaceutical manufacturers,

    Rivera v. Wyeth-Ayerst Laboratories,6 involved similar claims to those asserted by Plaintiffs in

    these consolidated cases. Id., 283 F.3d at 317. Rivera was a class action alleging consumer

    deception under Texas law, breach of the implied warranty of merchantability, and unjust

    enrichment based on a pharmaceutical company’s failure to warn of certain alleged health risks

    associated with its drug. Id. The plaintiffs in Rivera had taken a pain medication that was later

    withdrawn from the market due to reports of liver failure in some patients. Id. The class

    representatives sought to represent individuals who had used the drug but suffered no personal

    injury. Id. The class sought economic damages only on the theory that they were denied the

    benefit of the bargain and wanted their money back. Id. at 317, 320 (footnote omitted). The Fifth

    Circuit, however, held that “[s]uch wrongs cannot constitute an injury in fact.” Id. at 320.

    “Consumer Plaintiff paid for an effective pain killer, and she received just that—the benefit of her

    bargain.” Id. In holding that the plaintiffs failed to establish an injury-in-fact, the Fifth Circuit

    explained that the plaintiffs could not prevail by establishing that the defendants violated a legal

    duty owed to other consumers because the injury must be personal. Id. at 319-20.

           The class in Rivera included consumers who purchased and used a pain medication—

    Duract—and did not manifest any liver damage or other physical injuries. Like the Consumer and

    TPP Plaintiffs here, the plaintiffs in Rivera claimed that the defendants did not list enough

    warnings on the Duract label and/or Duract was defective. Like the Plaintiffs in this action, the

    plaintiffs in Rivera sought, in part, reimbursement for their Duract purchases; those plaintiffs did

    not claim that Duract physically or emotionally injured them or was ineffective in providing pain



    6
     Although a standing case, the Fifth Circuit’s injury-in-fact analysis applies equally to the injury
    analysis involved in determining whether the plaintiff failed to state a claim.

                                                     9
Case 9:20-md-02924-RLR Document 2037 Entered on FLSD Docket 10/08/2020 Page 15 of 32




    relief. Like Plaintiffs here, the Rivera plaintiffs asserted that their spent cash was an “economic

    injury.” Id. at 319. Therefore, the same result should follow: dismissal.

           A court in this district has agreed with the Fifth Circuit’s no-injury analysis, dismissing

    cases lacking allegations that the product did not work for its intended use. See Papasan v.

    Dometic Corp., No. 16-22482-CIV, 2019 WL 3317750, at *4 (S.D. Fla. July 24, 2019) (agreeing

    with the Fifth Circuit’s analysis in Rivera that plaintiffs improperly oscillated between tort and

    contract law claims to obscure the fact that they asserted no concrete injury).

           Courts examining the issue of injury allegations primarily in the context of proximate

    cause, likewise applied the reasoning in Rivera. For example, in Ironworkers Local Union No. 68

    v. AstraZeneca Pharmaceuticals LP, the Middle District of Florida considered third-party payor

    plaintiffs’ claims for economic damages where the plaintiffs sought to recover the excess payments

    they made for Seroquel prescriptions filled by their participating members. Id., 585 F. Supp. 2d

    1339, 1342 (M.D. Fla. 2008). Since the plaintiffs failed to establish that alleged unlawful conduct

    caused the alleged injuries, citing serious concerns about the difficulties inherent in determining

    the cause of injury on a transaction-by-transaction basis, the court dismissed the complaint. Id.

    1345. Approximately one year after its Ironworkers decision, the Middle District of Florida court

    re-applied the same reasoning to certain state-law claims brought by a health and welfare trust

    fund against the manufacturer of Seroquel. See Pennsylvania Employees Ben. Tr. Fund v.

    Astrazeneca Pharm. LP, No. 609-CV5003-ORL-22DAB, 2009 WL 2231686, at *1 (M.D. Fla. July

    20, 2009). The plaintiff alleged that the defendant engaged in a wide spread fraudulent scheme to

    promote Seroquel that caused the plaintiff fund to unnecessarily pay the cost of Seroquel

    prescriptions where less expensive, safer, and more effective medication was available. Id.

    Applying the Ironworkers analysis, the court granted the defendants’ motion to dismiss for failure



                                                    10
Case 9:20-md-02924-RLR Document 2037 Entered on FLSD Docket 10/08/2020 Page 16 of 32




    to state a claim, because the complaint lacked a sufficient connection between the conduct and the

    supposed injury. Id. at *6.

           Here, Plaintiffs have alleged that they purchased ranitidine—an FDA-approved

    medication—and nothing more. They never allege that Plaintiffs who took the medication for

    heartburn relief continued to experience heartburn. The fact that several plaintiffs allegedly

    continued to purchase and use the product for decades suggests that the product effectively relieved

    the symptoms for which it was prescribed. Plaintiffs’ allegations establish they received exactly

    what they paid for: an effective treatment for heartburn and indigestion without any demonstrable

    physical injury. Thus, the Consumer and TPP Plaintiffs suffered no injuries—economic, physical,

    or otherwise. Because there can be no recovery where there has been no cognizable harm, the

    Class Action Complaints must be dismissed in their entirety as to the Generic Manufacturer and

    Repackager Defendants.

       2. Allegations of “cellular damage” do not qualify as personal injuries.

           Plaintiffs do not allege a single supporting allegation of actual physical or emotional injury

    caused by ranitidine ingestion. The named plaintiffs do not allege that they (or any proposed

    absent class members) were diagnosed with cancer or any other disease in connection with their

    use or purchase of ranitidine. Instead, the Consumer Class Action Plaintiffs in the Consumer

    Complaint allege, without support, that all consumers “who ingested Defendants’ Ranitidine-

    Containing Products have suffered physical damages in the form of cellular, sub-cellular, and/or

    genetic injuries that significantly increased their risk of developing various types of serious and

    potentially deadly cancers.” Id. at ¶ 723.

           Speculation is not enough to allege physical injury. As one federal court has explained,

    such “cellular damage does not rise to the level of physical injury as a matter of law because

    nothing in the record relates them to any objective symptoms of illness or disease.” Caputo v. Bos.
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Case 9:20-md-02924-RLR Document 2037 Entered on FLSD Docket 10/08/2020 Page 17 of 32




    Edison Co., No. CIV. A. 88-2126-Z, 1990 WL 98694, at *4 (D. Mass. July 9, 1990), aff’d, 924

    F.2d 11 (1st Cir. 1991). An “increased risk of developing cancer or some other disease in the

    future does not by itself give rise to a claim for damages.” Id. Most courts that have considered

    the issue have also found claims of sub-cellular or genetic “injuries” without physical

    manifestations are not injuries—and, thus, not compensable. See, e.g., Ranier v. Union Carbide

    Corp., 402 F.3d. 608, 622 (6th Cir. 2005) (concluding that Kentucky case law does not equate sub-

    cellular damage with bodily injury in analyzing claim brought under the Price-Anderson Act); In

    Re Berg Litig., 293 F.3d. 1127, 1131 (9th Cir. 2002) (reversing the District Court’s decision to

    allow “those emotional distress claims of plaintiffs who were not ill, but who could demonstrate

    that their exposure more than doubled their risk of disease”); see Dumontier v. Schlumberger Tech.

    Corp., 543 F.3d 567, 570 (9th Cir. 2008) (“But not every alteration of the body is an injury.”).

           Accordingly, the only injury that Plaintiffs in the Consumer Complaint may allege and the

    only actual losses alleged in the Consumer Complaint are economic in nature.7




    7
      See, e.g., Consumer Compl. ¶ 13 (“As a direct and proximate result of Defendants’ violations of
    law, Plaintiffs and other members of the Class have suffered economic losses through their
    purchase of a product that should not have been available for sale in the U.S. and which they would
    not have purchased, but for Defendants’ unlawful conduct.”); id. ¶ 15 (“Plaintiffs, individually and
    on behalf of the Class, seek redress to compensate for their economic losses . . . .”); id. ¶ 1164
    (“As a direct and proximate result of Defendants’ actions and omissions, Plaintiffs and members
    of the Class have suffered physical injury, have a significantly increased risk of developing serious
    and potentially deadly cancers, and have suffered and will suffer economic losses and expenses
    associated with ongoing medical monitoring.”); TPP Compl. ¶ 14 (“Plaintiffs . . . seek redress for
    their economic losses they suffered because they made payments or reimbursements for a product
    that was economically worthless . . . .”); id. ¶ 495 (“Plaintiffs and TPP Class members have been
    injured because they paid reimbursements for an economically worthless drug they otherwise
    would not have been obligated to pay, and suffered out-of-pocket loss.”).

                                                     12
Case 9:20-md-02924-RLR Document 2037 Entered on FLSD Docket 10/08/2020 Page 18 of 32




        3. Even if Plaintiffs could allege a personal injury, they must confine all such claims to
           the Personal Injury Complaint.

           The PI Complaint, filed “on behalf of all individually injured Plaintiffs . . . who have

    suffered personal injuries and/or death as a result of using Defendants’ dangerously defective

    ranitidine-containing products,” is the only one of the three Master Complaints in which Plaintiffs

    actually assert physical or emotional injury. PI Compl. ¶¶ 17-18; PTO #31, p. 2 (“By June 22,

    2020, Plaintiffs shall file a Master Personal Injury Complaint on behalf of all Plaintiffs asserting

    personal injury claims in MDL No. 2924) (emphasis added)).8 Any Plaintiffs seeking monetary

    damages for personal injury are to seek redress through the PI Complaint, not the Class Action

    Complaints.    To allow otherwise would contradict existing Orders of this Court and add

    unnecessary confusion, duplication, and inefficiency to this MDL.

           B.      THE ECONOMIC-LOSS RULE BARS THIRD-PARTY PAYORS’ TORT RECOVERY OF
                   PURELY ECONOMIC LOSS IN A COMMERCIAL TRANSACTION.

           In addition to being subject to dismissal for failure to allege a cognizable injury, the

    economic loss doctrine precludes the TPP Plaintiffs’ tort claims sounding in fraud (Count 5),

    negligence (Counts 6 and 9), and violation of consumer protection laws (Count 7). The TPP

    Plaintiffs are commercial parties allegedly in privity with Defendants and asserting claims under

    both contract and tort law. See TPP Compl., Counts II-VI, IX. However, because they have

    limited their alleged damages to the product itself without alleging any personal injury or damage

    to “other property,” the only claims they may assert are contractual—not tort—claims.




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      Specifically, Plaintiffs in the PI Complaint are individuals who have developed various cancers
    allegedly caused by ranitidine. See, e.g., PI Compl. ¶ 19. (“Plaintiffs were diagnosed with various
    cancers and their sequelae, which were directly and proximately caused by their use of ranitidine-
    containing products. These injuries include, but are not limited to, the following types of cancer:
    bladder, brain, breast, colorectal, esophageal or throat, intestinal, kidney, liver, lung, ovarian,
    pancreatic, prostate, stomach, testicular, thyroid, and uterine.”).

                                                    13
Case 9:20-md-02924-RLR Document 2037 Entered on FLSD Docket 10/08/2020 Page 19 of 32




           The landmark case on the economic-loss doctrine in products liability is the Supreme

    Court’s decision in East River Steamship Corp. v. Transamerica Delaval, 476 U.S. 858 (1986).

    Applying admiralty law, the East River Court had to “determine whether injury to a product itself

    is the kind of harm that should be protected by products liability or left entirely to the law of

    contracts.” Id. at 859. The Court recognized and upheld the overwhelming “majority” approach

    of the States, which “held that preserving a proper role for the law of warranty precludes imposing

    tort liability if a defective product causes purely monetary harm.” Id. at 868.

           The Supreme Court’s rule flows from the premise that when “a product injures only itself

    the reasons for imposing a tort duty are weak and those for leaving the party to its contractual

    remedies are strong.” Id. at 871. The East River Court explained that damage “to a product itself

    is most naturally understood as a warranty claim” and “means simply that the product has not met

    the customer’s expectations, or, in other words, that the customer has received insufficient product

    value.” Id. at 872 (internal quotation marks omitted). The Court famously observed that, without

    proper limits on tort liability, “contract law would drown in a sea of tort.” Id. at 866.

           The liability-restricting rule not only operates to protect commercial parties whose

    transactions generally do “not involve large disparities in bargaining power,” it also lowers prices

    for consumers. See id. at 872-73. The Court emphasized that, when “the parties may set the terms

    of their own agreements” and courts honor their “allocation of the risk” by precluding tort claims

    with no personal injury or other-property damage, “the purchaser pays less for the product.” See

    id. Here, the TPP Plaintiffs are all commercial entities—self-identifying as “health insurance

    companies, third-party administrators, health maintenance organizations, self-funded health and

    welfare benefit plans, third party payors and any other health benefit provider”—and not the end-




                                                     14
Case 9:20-md-02924-RLR Document 2037 Entered on FLSD Docket 10/08/2020 Page 20 of 32




    user consumers who actually ingest the product. See TPP Compl. ¶¶ 506, 508. The economic-

    loss doctrine, thus, should be applied with full force.

           After East River was issued, the economic-loss doctrine for product-liability cases9, which

    the Supreme had recognized as “the majority approach,” has remained well accepted by the clear

    majority of jurisdictions. See J.M. Zitter, Annotation, Strict products liability: recovery for

    damage to product alone, 72 A.L.R. 4th 12 (originally published in 1989).

           Plaintiffs in the TPP Complaint are sophisticated commercial entities that paid negotiated

    prices for medications taken by their insureds. There is no cognizable claim that the third-party

    payors (or anyone else) were physically injured by paying for ranitidine medications. Therefore,

    the economic-loss doctrine bars the TPP Plaintiffs from asserting their tort claims of fraud,

    negligent misrepresentation and omission, violation of consumer protection laws and negligence.

    Thus, all the tort-based claims asserted against the Generic Manufacturers and Repackager

    Defendants are improper.

           C.      CONSUMER CLASS’ CLAIMED MEDICAL-MONITORING “INJUNCTION” SHOULD BE
                   DISMISSED AND AN INJUNCTION OF NON-EXISTENT SALES IS IMPROPER.

           The Consumer Complaint contains a request for injunctive relief seeking the establishment

    of a trust fund to pay for medical monitoring, as well as “any and all appropriate preliminary and/or

    final injunctive” relief. Consumer Compl. ¶ 747. And putting to rest any doubt about what they

    seek, the Plaintiffs recent filings acknowledge “. . . this Court can fashion a simple remedy when


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      Courts and commentators have noted that the singular term “economic-loss rule” is “something
    of a misnomer” as “there is not one economic loss rule broadly applicable throughout the field of
    torts, but rather several more limited rules that govern recovery of economic losses in selected
    areas of the law.” Sharyland Water Supply Corp. v. City of Alton, 354 S.W.3d 407, 415 (Tex.
    2011) (quoting Vincent R. Johnson, The Boundary-Line Function of the Economic Loss Rule, 66
    Wash. & Lee L. Rev. 523, 534-35 (2009)). To be clear, only one version of the rule is being argued
    here: between commercial parties, claims for injury to the product itself without personal injury or
    other-property damage are contractual and not tort claims.

                                                     15
Case 9:20-md-02924-RLR Document 2037 Entered on FLSD Docket 10/08/2020 Page 21 of 32




    it finds liability: ordering Defendants to create a fund to pay for medical monitoring . . . .”

    (emphasis added) ECF No. 1980 at p. 11, § I(A); Plaintiffs’ Corrected Opposition To Defendants’

    Amended Motion to Dismiss And/Or Strike Consolidated Consumer and Third Party Payor Class

    Action Complaints on Grounds of Impermissible Shotgun Pleadings And Lack Of Article III

    Standing. The Court should dismiss the claims for injunctive relief because (1) the medical

    monitoring requested here is not properly the subject of an injunction, and (2) the only other

    possible injunctive relief—precluding sales—is moot.10

           First, Consumer Plaintiffs seek monetary damages for medical monitoring—not an

    injunction. Federal courts recognize that a “request for medical monitoring cannot be categorized

    as primarily equitable or injunctive per se.” Zinser v. Accufix Research Inst., Inc., 253 F.3d 1180,

    1195 (9th Cir. 2001).        Instead, the requested relief shapes whether their claims are

    injunctive/equitable or monetary/legal. See, e.g., Day v. NLO, Inc., 144 F.R.D. 330, 335-36

    (S.D. Ohio 1992), vacated in part on other grounds, In re NLO. Inc., 5 F.3d 154, 160 (6th Cir.

    1993); Donovan v. Philip Morris USA, Inc., 268 F.R.D. 1, 22 (D. Mass. 2010).11 In fact, courts



    10
      Defendants are moving as to the request for an injunction and reserve the arguments that the
    Consumer Plaintiffs failed to state claims for medical monitoring under applicable states’ laws.
    11
      In Donovan the plaintiffs sought court-supervised lung-cancer screenings, using technology that
    was “not generally available in Massachusetts” and “not available through most health insurance
    programs.” Donovan v. Philip Morris USA, Inc., 268 F.R.D. at 6, 26. Such relief required “the
    hiring of medical personnel, the purchase of equipment, and the development of outreach and
    record keeping procedures, among other things, which may make the program inaccessible to
    individual plaintiffs.” Id. at 6. Such a unique program required court-supervised trustees, a
    registry, and group studies. Id. at 22-23. That relief fundamentally differs from the relief sought
    by the Plaintiffs here—the establishment of a trust fund. Indeed, despite its result, Donovan’s
    reasoning shows that courts are reluctant to categorize medical monitoring claims as injunctive
    relief. Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338 (2011). “[A] remedy requiring Defendants
    to do nothing more than writing a check” cannot be properly viewed as an injunction. Barraza v.
    C. R. Bard Inc., 322 F.R.D. 369, 389 (D. Ariz. 2017). The same principles apply in this circuit.
    See, e.g., Jackson v. Purdue Pharma Co., No. 6:02-cv-1428-Orl-19KRS, 2003 U.S. Dist. LEXIS
    6998, at *5 (M.D. Fla. Apr. 10, 2003).

                                                    16
Case 9:20-md-02924-RLR Document 2037 Entered on FLSD Docket 10/08/2020 Page 22 of 32




    must closely scrutinize plaintiffs’ request for medical monitoring as injunctive relief or simply “a

    disguised request for compensatory damages.” Arch v. Am. Tobacco Co., 175 F.R.D. 469, 483

    (E.D. Pa. 1997). When plaintiffs, as they do here, seek an order to pay for medical monitoring,

    even if paid directly to care providers, they seek monetary damages and not injunctive relief. See

    Day, 144 F.R.D. at 335-36.

           The court in Barraza v. C. R. Bard Inc. reviewed numerous cases to show the relevant

    factors for deciding whether medical monitoring relief is primarily compensatory or injunctive.

    Id., 322 F.R.D. 369, 386 (D. Ariz. 2017). The Barazza court explained that where “a request for

    medical monitoring [is] coupled with a request for compensatory or punitive damages,” the relief

    is properly considered primarily monetary. Id. Further—and particularly relevant here—“a

    request for transmission of money with little supervision from the court or further engagement by

    the defendants is likely to be considered primarily monetary.” Id.

           Although Plaintiffs allege that they have an inadequate remedy at law, the language they

    use to describe the medical monitoring relief exposes their claims as only monetary. The features

    of the program requested in the Consumer Complaint are nearly identical to those sought in the

    cases holding that the medical monitoring claim is one for compensatory damages. The Consumer

    Plaintiffs’ medical-monitoring claims allege that ranitidine has increased their risk for various,

    unspecified forms of cancer. They want the Court to order Defendants to set up a trust fund to pay

    for regular cancer screenings with their own physicians. Plaintiffs claim that ranitidine somehow

    causes a multitude of common cancers, all with established diagnostic tests and treatment

    protocols. Payment for such cancer screenings and treatment is purely monetary damages; it is

    not injunctive relief. See, e.g., Zinser v. Accufix Research Inst., Inc., 253 F.3d 1180, 1196 (9th

    Cir. 2001); Thomas v FAG Bearings Corp Inc, 846 F Supp 1400 (W.D. Mo. 1994) (costs that are



                                                    17
Case 9:20-md-02924-RLR Document 2037 Entered on FLSD Docket 10/08/2020 Page 23 of 32




    nothing more than compensation for necessary medical expenses reasonably anticipated to be

    incurred in the future are not injunctive relief); O’Connor v. Boeing N. Am., Inc., 180 F.R.D. 359,

    379 (C.D. Cal. 1997) (finding relief primarily monetary where the plaintiffs sought establishment

    of a fund to pay for medical monitoring, including treatment, as well as other compensatory and

    punitive damages).     Accordingly, their request a medical-monitoring injunction should be

    dismissed.

           Second, the Consumer Plaintiffs repeatedly argue that the products present a “continuing

    risk” (e.g., id. ¶ ¶943, 1042, 1138) and allege that Defendants have a duty to “cease marketing and

    discontinue” sales (¶ 851). Plaintiffs seek an injunction ordering the Defendants to remove

    ranitidine from the market. But, as Plaintiffs know, Defendants have already done that. This Court

    cannot enjoin something that is not happening. Therefore, there is no basis for any injunctive

    relief, and their demand for injunctive relief must be dismissed for this additional reason.

    IV.    CONCLUSION

           Class Action Plaintiffs’ claims in the Consumer Complaint and TPP Complaint fail to

    allege a cognizable injury. In addition, allegations that the TPP Plaintiffs suffered tort damages

    and the Consumer Plaintiffs are entitled to injunctive relief have no basis in law or fact.

    Accordingly, all claims asserted against the Generic Manufacturers and Repackagers in Plaintiffs’

    Class Complaints must be dismissed with prejudice.




                                                     18
Case 9:20-md-02924-RLR Document 2037 Entered on FLSD Docket 10/08/2020 Page 24 of 32




    Dated: October 8, 2020                   Respectfully submitted,

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                                               19
Case 9:20-md-02924-RLR Document 2037 Entered on FLSD Docket 10/08/2020 Page 25 of 32




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                                                    20
Case 9:20-md-02924-RLR Document 2037 Entered on FLSD Docket 10/08/2020 Page 26 of 32



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                                         21
Case 9:20-md-02924-RLR Document 2037 Entered on FLSD Docket 10/08/2020 Page 27 of 32



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                                                   22
Case 9:20-md-02924-RLR Document 2037 Entered on FLSD Docket 10/08/2020 Page 28 of 32



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                                               23
Case 9:20-md-02924-RLR Document 2037 Entered on FLSD Docket 10/08/2020 Page 29 of 32



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                                         24
Case 9:20-md-02924-RLR Document 2037 Entered on FLSD Docket 10/08/2020 Page 30 of 32



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                                              25
Case 9:20-md-02924-RLR Document 2037 Entered on FLSD Docket 10/08/2020 Page 31 of 32



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                                                       26
Case 9:20-md-02924-RLR Document 2037 Entered on FLSD Docket 10/08/2020 Page 32 of 32




                                       CERTIFICATE OF SERVICE
           I hereby certify that on October 8, 2020, I electronically filed the foregoing THE

    GENERIC MANUFACTURERS’ AND REPACKAGERS’ RULE 12 MOTION TO

    DISMISS CONSOLIDATED CONSUMER AND THIRD-PARTY PAYOR CLASS

    ACTION COMPLAINTS ON THE GROUND OF FAILURE TO ALLEGE AN INJURY

    AND INCORPORATED MEMORANDUM OF LAW with the Clerk of Court using the

    CM/ECF system, which will provide automatic notification to all counsel of record.


                                                       /s/ Thomas J. Yoo
                                                       Thomas J. Yoo




                                                  27
